




Dismissed and Memorandum Opinion filed December 7, 2006








Dismissed
and Memorandum Opinion filed December 7, 2006.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00785-CV

____________

&nbsp;

KIMBERLY MITCHELL,
Appellant

&nbsp;

V.

&nbsp;

CITY OF HOUSTON,
Appellee

&nbsp;



&nbsp;

On Appeal from the
125th District Court

Harris County, Texas

Trial Court Cause No.
2004-43892

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an attempted appeal from a judgment signed November
22, 2004.&nbsp; Appellant=s notice of appeal was filed on September
8, 2006.

The notice of appeal must be filed within thirty days after
the judgment is signed when appellant has not filed a timely motion for new
trial, motion to modify the judgment, motion to reinstate, or request for
findings of fact and conclusion of law.&nbsp; See Tex. R. App. P. 26.1








When appellant has filed a timely motion for new trial,
motion to modify the judgment, motion to reinstate, or request for findings of
fact and conclusion of law, the notice of appeal must be filed within ninety
days after the date the judgment is signed. See Tex. R. App. P. 26.1(a).

Appellant=s notice of appeal was not filed timely. A
motion for extension of time is necessarily implied when an appellant, acting
in good faith, files a notice of appeal beyond the time allowed by rule 26.1,
but within the fifteen-day grace period provided by Rule 26.3 for filing a
motion for extension of time.&nbsp; See Verburgt v. Dorner, 959 S.W.2d 615,
617-18 9 (1997) (construing the predecessor to Rule 26).&nbsp; However, the
appellant must offer a reasonable explanation for failing to file the notice of
appeal in a timely manner.&nbsp; See Tex.
R. App. P. 26.3, 10.5(b)(1)(C); Verburgt, 959 S.W.2d at 617-18.&nbsp;
Appellant=s notice of appeal was not filed within the
fifteen-day period provided by rule 26.3

On October 25, 2006, notification was transmitted to all
parties of the Court=s intent to dismiss the appeal for want of
jurisdiction.&nbsp; See Tex. R. App.
P. 42.3(a).&nbsp; Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed December 7, 2006.

Panel consists of Justices Yates,
Anderson, and Hudson.





